8:09-cr-00010-LES-TDT   Doc # 43   Filed: 09/23/09   Page 1 of 2 - Page ID # 110



           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:09CR10
                              )
          v.                  )
                              )
MONICA HIATT,                 )                  ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on defendant’s motion

to continue (Filing No. 42).       The Court notes plaintiff has no

objection, and defendant will file a written waiver of speedy

trial.   Accordingly,

           IT IS ORDERED that the Rule 11 hearing is rescheduled

for:

                Thursday, November 5, 2009, at 11:30 a.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as may

be called by the Court.     The parties will have time to finalize

plea negotiations, and the ends of justice will be served by

continuing this case and outweigh the interests of the public and

the defendant in a speedy trial.        The additional time between

September 25, 2009, and November 5, 2009, shall be deemed
8:09-cr-00010-LES-TDT   Doc # 43   Filed: 09/23/09   Page 2 of 2 - Page ID # 111



excludable time in any computation of time under the requirement

of the Speedy Trial Act.     18 U.S.C. § 3161(h)(8)(A) & (B).

          DATED this 23rd day of September, 2009.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court




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